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           Volunteer
           Program
           Handbook
                             2023
                      REVISED DATE: 03/24/2023
                      REVISED BY:
                      Franny Buffa, ACPS Manager
                      of Volunteer Services

                                                                    EXHIBIT 6
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                           ACPS Volunteer Program Handbook

                      General Guidelines & Procedures
Representing ACPS
   • When you’re serving as a volunteer for ACPS, what you say and do reflects on all aspects of ACPS.
      We know volunteers may have a variety of beliefs and values when it comes to animal welfare issues,
      and we sincerely respect and appreciate this diversity of thought.
   • If there is an issue on which ACPS has not taken a position, you should remain neutral on the matter
      while representing ACPS. Any personal comments you make should be clearly identified as personal
      comments.

Humane Euthanasia
  • In the past at ACPS, humane euthanasia often took place because of limited space. We are pleased
     this is no longer commonplace.
  • Humane euthanasia decisions are made on a case-by-case basis following a thorough review of the
     animal’s history. Decisions are made collaboratively across multiple departments and the ACPS
     leadership team.
  • We kindly request that questions or concerns about an animal’s euthanasia status be addressed with
     the volunteer manager or shelter manager.

Communication
  • We ask that you keep us aware of any problems and pleasures you encounter with your volunteer
    work. This includes extended vacations, illnesses, conflicts, transportation mix-ups, or anything that
    affects your volunteering or satisfaction with your volunteer assignment.
  • If you have any questions or challenges regarding your volunteer assignment, please bring them to the
    attention of your staff supervisor or the Volunteer Manager.
  • More information regarding troubleshooting communication problems can be found in the Volunteer
    Code of Conduct Policy.

Volunteer Performance Support
   • Our goal is to make sure all our volunteers have a wonderful and rewarding experience at ACPS while
      providing the best possible care possible to the animals. Because of that some volunteer positions offer
      training, support and performance feedback.
   • Performance feedback sessions give ACPS staff a chance to meet with volunteers one on one to review
      the position description, discuss what’s going well, and identify goals and areas for improvement.
   • Performance support will be tracked in Volgistics under the volunteer’s profile.

Volunteer Performance Support Process:
   1. Friendly Reminder of policies and procedures
   2. Verbal Warning
   3. Meeting with Supervisor or Volunteer/ Shelter Manager-written warning
   4. Meeting with Volunteer Manager and Shelter Manager or Division Chief -2nd written warning
   5. 2 week probation or change in volunteer assignment
   6. Dismissal

Dismissal
   • It is rare for volunteers to be dismissed. Most volunteers want to help and would not take the time to
      volunteer if they were not an asset to the department. If there is a problem with a volunteer the Volunteer
      Performance Support Process will help guide the resolution of problems with volunteers.
   • Volunteers, like paid staff, may be placed on probation or dismissed from service if they violate any of
      the Policies, Procedures and/or Guidelines as set forth in the ACPS Volunteer Program Handbook.

                                                                                          EXHIBIT 6
